Case 4:24-cr-00210-SEH    Document 55 Filed in USDC ND/OK on 02/04/25       Page 1 of 10




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OKLAHOMA


  UNITED STATES OF AMERICA,

                     Plaintiff,
                                                  Case No. 24-CR-00210-SEH
  v.

  JOSEPH SCOTT CAMPBELL,

                     Defendant.


                              OPINION AND ORDER

       Before the Court is Defendant Joseph Campbell’s sealed second motion to

  suppress. 1 [ECF No. 51]. For the reasons provided below, the motion is

  denied.

  I. Background Facts

       In March 2024, Cherokee Nation Marshal Service (“CNMS”) Investigators

  interviewed Campbell about an alleged sexual assault of a minor victim.

  After Campbell confessed to engaging in sexual acts with the minor, the

  CNMS investigators used those statements, in combination with the victim’s

  disclosures, to obtain a Delaware County search warrant to search

  Campbell’s trailer. [ECF Nos. 51-1, 51-2]. The affidavit supporting the


  1 Although Campbell filed his motion under seal, this Opinion and Order will be

  filed publicly, because the strong presumption for open records outweighs the risk
  that information in this Order will violate the minor victim’s privacy interests.
Case 4:24-cr-00210-SEH     Document 55 Filed in USDC ND/OK on 02/04/25   Page 2 of 10




  warrant contained Campbell’s statements and showed that a teenaged minor

  victim disclosed to law enforcement that she had “sexual relations” with 54-

  year-old Campbell at his travel trailer in the Jay area of Delaware County.

  [ECF No. 51-1 at 2]. It further detailed that the minor was taken to a hospital

  where a Sexual Assault Nurse Exam (SANE) was performed. [Id.]. The

  affidavit also provided a photo of Campbell’s travel trailer and a statement by

  the affiant “that the residence to be searched was positively identified by

  firsthand knowledge from Law Enforcement . . . .” [Id. at 1, 3]. The affidavit

  sought authorization to search Campbell’s travel trailer for evidence of

  violations of an Oklahoma statute prohibiting lewd acts to a minor child. [Id.

  at 2]. Some of the evidence the warrant sought included photographs, the

  victim’s personal belongings, evidence related to sexual assault, such as

  condoms and condom wrappers, and the suspect’s bedding. [ECF No. 51-2 at

  2].

        In July 2024, a federal grand jury charged Campbell with one count of

  sexual abuse of a minor in Indian Country, in violation of 18 U.S.C. §§ 1151,

  1152, and 2243(a). [ECF No. 2]. Following an evidentiary hearing, I granted

  Campbell’s motion to suppress his confession to the CNMS investigators.

  [ECF No. 45]. He now moves to suppress evidence found in his travel trailer,

  arguing that the warrant was not supported by probable cause absent his

  suppressed statements. [ECF No. 51]. Campbell claims that the minor’s

                                          2
Case 4:24-cr-00210-SEH     Document 55 Filed in USDC ND/OK on 02/04/25    Page 3 of 10




  allegations of sexual abuse alone are not enough to support probable cause

  and the circumstances surrounding her disclosure show that a reasonable

  person would not have believed her. [Id. at 4–5]. He further claims that no

  information besides the SANE exam being performed attempts to corroborate

  the allegations. [Id. at 4]. Campbell requests an evidentiary hearing on his

  motion. [Id. at 5].

     The government responds that the affidavit provided sufficient evidence to

  create a fair probability that searching Campbell’s travel trailer could

  produce evidence of sexual acts toward a minor, even without Campbell’s

  confession. [ECF No. 54 at 3–6]. The government argues that the minor’s

  disclosure that she engaged in sexual acts with a 54-year-old man and was

  taken to a hospital for a SANE exam provided sufficient evidence in the

  affidavit to show that a crime may have occurred. [Id. at 3–4]. It further

  asserts that the affidavit provides a sufficient nexus between the potential

  crime and the place to the place to be searched, because the minor disclosed

  that the sexual acts took place at Campbell’s travel trailer in Jay. [Id. at 4].

  Last, the government argues that Campbell’s assertion about the

  circumstances surrounding the minor’s disclosure is irrelevant to determine

  whether the warrant was supported by probable cause without Campbell’s

  statements, because this Court need only review information within the four

  corners of the affidavit. [Id. at 5].

                                          3
Case 4:24-cr-00210-SEH    Document 55 Filed in USDC ND/OK on 02/04/25      Page 4 of 10




  II. Analysis

     A. An evidentiary hearing is unnecessary.

     Although I frequently set motions to suppress for evidentiary hearing, a

  hearing is not always required. “[A]n evidentiary hearing is only required

  when the motion to suppress raises factual allegations that are sufficiently

  definite, specific, detailed, and nonconjectural to enable the court to conclude

  that contested issues of fact going to the validity of the search are in issue.”

  United States v. Glass, 128 F.3d 1398, 1408–09 (10th Cir. 1997) (cleaned up).

  Here, Campbell argues that the search warrant was facially invalid because

  the Delaware County district court judge could not have found sufficient

  evidence in the affidavit to establish probable cause without his suppressed

  statements. [ECF No. 51]. A court “review[ing] the sufficiency of the affidavit

  upon which a warrant is issued” is tasked with “simply ensuring ‘that the

  [issuing judge] had a substantial basis for concluding that probable cause

  existed.’” United States v. Tisdale, 248 F.3d 964, 970 (10th Cir. 2001) (quoting

  Illinois v. Gates, 462 U.S. 213, 238–39 (1983)). Therefore, the Court’s review

  is limited to the statements within the four corners of the affidavit and

  information provided to the issuing judge under oath. See United States v.

  Knox, 883 F.3d 1262, 1272 (10th Cir. 2018) (a suppression court’s assessment

  is limited to considering only statements within the four corners of the

  affidavit and information actually disclosed to the judge who issued the

                                          4
Case 4:24-cr-00210-SEH    Document 55 Filed in USDC ND/OK on 02/04/25      Page 5 of 10




  warrant); see also United States v. Beck, 139 F. App’x 950, 954 (10th Cir.

  2005) (“where the police do not present oral testimony to the reviewing

  magistrate, the [district] court must ascertain the existence of probable cause

  to support a warrant exclusively from the affidavit’s four corners.”). Because

  there are no disputed facts that need to be resolved by considering evidence

  outside the affidavit, an evidentiary hearing on Campbell’s motion is

  unnecessary.

     B. The search warrant affidavit contains sufficient evidence to
        establish probable cause without Campbell’s suppressed
        statements.

     The Fourth Amendment provides that “no [w]arrant[] shall issue, but

  upon probable cause, supported by Oath or affirmation, and particularly

  describing the place to be searched, and the persons or things to be seized.”

  U.S. CONST. amend. IV. If a search violates the Fourth Amendment, the

  exclusionary rule typically requires that the evidence obtained from the

  search be suppressed. Nix v. Williams, 467 U.S. 431, 440–42 (1984).

     “An affidavit supports probable cause for a search warrant if the totality

  of the information it contains establishes the fair probability that contraband

  or evidence of a crime will be found in a particular place.” United States v.

  Moses, 965 F.3d 1106, 1113 (10th Cir. 2020) (citation and internal quotation

  marks omitted). “A ‘fair probability,’ is not an airtight guarantee; nor is it

  ‘proof that something is more likely true than false.’” United States v.

                                          5
Case 4:24-cr-00210-SEH    Document 55 Filed in USDC ND/OK on 02/04/25     Page 6 of 10




  Jenkins, 819 F. App’x 651, 658 (10th Cir. 2020) (quoting United States v.

  Denson, 775 F.3d 1214, 1217 (10th Cir. 2014)). “‘Rather, a ‘fair probability,’ if

  placed on a hierarchy, ranks somewhere between a naked suspicion and a

  preponderance of the evidence.’” Id. (citing Denson, 775 F.3d at 1217).

     Probable cause “require[s] a nexus between suspected criminal activity

  and the place to be searched.” United States v. Biglow, 562 F.3d 1272, 1278

  (10th Cir. 2009) (citation omitted). In determining whether a nexus exists,

  the Court may consider “(1) the type of crime at issue, (2) the extent of a

  suspect’s opportunity for concealment, (3) the nature of the evidence sought,

  and (4) all reasonable inferences as to where a criminal would likely keep

  such evidence.” Id. at 1279. “Whether a sufficient nexus has been established

  between a defendant’s suspected criminal activity and his residence thus

  necessarily depends upon the facts of each case.” Id. (citation omitted). A

  sufficient nexus exists where “an affidavit describes circumstances which

  would warrant a person of reasonable caution” to believe “that the articles

  sought are at a particular place.” Id. (citations and internal quotation marks

  omitted).

     The task of the issuing judge is to make a practical, common-sense

  decision about “whether the facts and circumstances within the officer’s

  knowledge based on reasonably trustworthy information are sufficient to

  warrant a person of reasonable caution to believe that an offense has [been]

                                          6
Case 4:24-cr-00210-SEH    Document 55 Filed in USDC ND/OK on 02/04/25     Page 7 of 10




  or is being committed.” United States v. Armendariz, 922 F.2d 602, 607–08

  (10th Cir. 1990). “An affidavit containing erroneous or unconstitutionally

  obtained information invalidates a warrant if that information was critical to

  establishing probable cause. If, however, the affidavit contained sufficient

  accurate or untainted evidence, the warrant is nevertheless valid.” United

  States v. Sims, 428 F.3d 945, 954 (10th Cir. 2005) (citations and internal

  quotation marks omitted).

     Here, the affidavit in support of the search warrant contained sufficient

  information without Campbell’s statements to establish probable cause.

  Absent Campbell’s statements, the affidavit described the minor victim’s

  disclosure to a female Cherokee Nation Marshal that she had “sexual

  relations” with 54-year-old Campbell “at his travel trailer in the Jay area of

  Delaware County.” [ECF No. 51-1 at 2]. The affidavit contains a picture of a

  travel trailer as the place to be searched and provides that law enforcement

  “positively identified by firsthand knowledge” the residence. [Id. at 1, 3]. This

  is sufficient to establish probable cause. See Barham v. Town of Greybull

  Wyoming, 483 F. App’x 506, 507–08 (10th Cir. 2012) (officers had probable

  cause to arrest suspect and search his home after a minor gave specific

  details about alleged sexual assaults, including some that allegedly occurred

  at suspect’s home, and the officer who prepared the affidavit knew from

  personal observation that the minor’s depiction of the suspect’s home was

                                          7
Case 4:24-cr-00210-SEH    Document 55 Filed in USDC ND/OK on 02/04/25     Page 8 of 10




  accurate); Easton v. City of Boulder, 776 F.2d 1441, 1449–50 (10th Cir. 1985)

  (detectives had probable cause to seek arrest warrant based upon child’s

  relation of alleged incidents, child’s identification of the suspect and suspect’s

  apartment, and child’s playmate’s relation of incident and identification of

  the suspect’s apartment); but see Cortez v. McCauley, 478 F.3d 1108, 1121

  (10th Cir. 2007) (“double-hearsay statement of a nurse, based on information

  allegedly provided by a two-year-old child and reported in a telephone call,

  does not establish probable cause” without more information).

     Although Campbell argues that the affidavit fails to show corroborating

  evidence of the minor victim’s disclosure, the requirement for corroborating

  information is lower when a victim directly discloses sexual abuse. Easton,

  776 F.2d at 1449 (“In a great many child molestation cases, the only available

  evidence that a crime has been committed is the testimony of children. To

  discount such testimony from the outset would only serve to discourage

  children and parents from reporting molestation incidents and to unjustly

  insulate the perpetrator of such crimes from prosecution.”). Here, the minor

  victim is a teenager capable of providing details about the alleged abuse, and

  specifically identified a “travel trailer,” as opposed to a mobile home, house,

  apartment, or hotel. Finally, the affidavit provides that the minor disclosed to

  a “female Deputy Marshal” that she had “sexual relations” with Campbell

  and was taken to a hospital where a SANE exam was performed. [ECF No.

                                          8
Case 4:24-cr-00210-SEH    Document 55 Filed in USDC ND/OK on 02/04/25     Page 9 of 10




  51-1 at 2]. A practical, common-sense reading of that information would lead

  to the inference that the deputy who took the minor victim’s statement found

  it trustworthy enough to have the minor taken to a hospital for a SANE

  exam. Therefore, even without Campbell’s confession, it would have been

  reasonable for the issuing judge to believe that a fair probability existed that

  a crime had been committed.

     The minor’s disclosures further provide sufficient information to establish

  a nexus between the potential crime and the place to be searched. As detailed

  above, the minor disclosed that the “sexual relations” she had with Campbell

  occurred in his travel trailer. [ECF No. 51-1 at 2]. The affidavit sought

  authorization to search Campbell’s travel trailer for evidence of violations of

  an Oklahoma statute prohibiting lewd acts to a minor child and listed

  examples of the type of evidence sought by the warrant, which included

  possible evidence of a sex crime. [Id.]. Therefore, the affidavit “describes

  circumstances which would warrant a person of reasonable caution” to

  believe “that the articles sought are at a particular place.” Biglow, 562 F.3d

  at 1278.

     The Court finds the totality of the information contained in the affidavit

  without Campbell’s confession established a “fair probability that contraband

  or evidence of a crime would be found in a particular place.” Moses, 965 F.3d

  at 1113. Because the affidavit contained “sufficient accurate ... evidence” to

                                          9
Case 4:24-cr-00210-SEH   Document 55 Filed in USDC ND/OK on 02/04/25   Page 10 of 10




  support probable cause even without the information from Campbell’s

  statements, the warrant was valid, and Campbell’s motion to suppress should

  be denied. Sims, 428 F.3d at 954.

  III. Conclusion

     For the reasons stated above, the Court finds that the search warrant

  affidavit contains sufficient evidence to establish probable cause even without

  Campbell’s suppressed statements. Therefore, the warrant was supported by

  probable cause and the evidence recovered from Campbell’s trailer will not be

  suppressed.

     IT IS THEREFORE ORDERED that Defendant’s second motion to

  suppress [ECF No. 51] is DENIED.

     DATED this 4th day of February, 2025.




                                      Sara E. Hill
                                      UNITED STATES DISTRICT JUDGE




                                        10
